Case 1:05-cr-00039-MW-GRJ         Document 124      Filed 03/14/06   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 1:05cr39-SPM/AK

IREN CERGIO RAINEY,

           Defendant.
______________________________/

                            ORDER OF REFERENCE

      The court has been informed that the defendant in the above styled case

wishes to enter a guilty plea and consents to having the guilty plea proceedings

conducted by a United States Magistrate Judge. Pursuant to the provisions of 28

U.S.C. § 636(b)(3) and Loc. R. 72.3, it is hereby

      ORDERED that the above captioned criminal case be referred to the

Honorable Allan Kornblum, United States Magistrate Judge, to conduct all of the

proceedings required by Rule 11 of the Federal Rules of Criminal Procedure

incident to a guilty plea and to make a recommendation to the District Judge

concerning acceptance or rejection of the guilty plea.

      DONE AND ORDERED this 14th day of March, 2006.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
